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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                      Plaintiff,                                        8:23CR86

        vs.
                                                                         ORDER
 JUSTIN GARRINGER,

                      Defendant.


        This matter is before the Court on Defendant’s Unopposed Motion for Enlargement of Time
to File Pretrial Motions, (Filing No. 372). For good cause shown, the Court finds the motion
should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s Unopposed Motion for Enlargement of Time to File Pretrial Motions,
              (Filing No. 372), is granted.

       2)     Pretrial motions shall be filed by May 30, 2025.

       3)     In accordance with 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of
              justice will be served by granting this motion and outweigh the interests of the
              public and the defendant in a speedy trial. Any additional time arising as a result
              of the granting of this motion, that is, the time between today’s date and May 30,
              2025, shall be deemed excludable time in any computation of time under the
              requirement of the Speedy Trial Act. Failure to grant this motion would deny
              counsel the reasonable time necessary for effective preparation, taking into account
              the exercise of due diligence, and the novelty and complexity of the case. The
              failure to grant this motion might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(7)(A) & (B). Failing to timely object to this order as provided under this
              court’s local rules will be deemed a waiver of any right to later claim the time should
              not have been excluded under the Speedy Trial Act.

       Dated this 14th day of February, 2025.

                                                     BY THE COURT:

                                                     s/ Ryan C. Carson
                                                     United States Magistrate Judge
